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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 CHRIS NIKOLOVSKI and CHRIS
 NIKOLOVSKI D.D.S, P.C., an Illinois
 corporation, individually and as the
 representatives of a class of similarly situated      Case No.: 1:18-cv-03088
 persons and entities,
                                                       Honorable Judge Charles R. Norgle
 Plaintiffs,

 v.

 PROGRESSIVE BUSINESS FUNDING,
 INC. and MICHAEL BRIGHTON,

 Defendants.

                             NOTICE OF VOLUNTARY DISMISSAL

        NOW COME the Plaintiffs, CHRIS NIKOLOVSKI and CHRIS NIKOLOVSKI D.D.S, P.C

(“Plaintiffs”), by and through their attorney, James C. Vlahakis of SULAIMAN LAW GROUP,

LTD., and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby voluntarily dismiss

their claims against the Defendant, PROGRESSIVE BUSINESS FUNDING, INC., with prejudice.


Dated: February 1, 2019                                  Respectfully Submitted,

                                                         /s/ James C. Vlahakis________
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